EXHIBIT A
January 3, 2023

Your Honour,

My name is Benjamin Ilg and I am writing this letter in regards to my Father Ronald
Ilg. I am 19 years old and currently finishing my training to be a paratrooper for the
United States Army, in Georgia. I would be present today to show my support for my
Father, but unfortunately, the timing does not work with the training I am currently
receiving for the Army. So instead, I write this letter so that maybe you may have an
understanding of my feelings.

My father is someone I deeply respect and care for. I care about him not just because he
is my father but because of the things he has done not just for me but anyone he has
come across. He has always tried to care for anyone even now when he is at his lowest
he still has tried to care for others, such as his cell mates.

He is and will always be the greatest father I could have asked for. He is the reason why
I was able to join the military with confidence and he still supports me with any
decisions I have made so far and helps me in any way he can, such as financial advice.
Me and my father have always cared for one another, always trying to look out for each
other or help one another. I had helped my father with setting up his office or painting
his office with him so he could focus on other more difficult things. And he has done
the same with me. Thanks to him and his advice I did not need to worry about my
financial problems while I was training in the army. Additionally, he has tried to his best
ability, to support me while I continue to grow into a respectable member of our society
through my enlistment.

My Dad is a person that I have relied on and respected. He has worked hard in his life
helping others within the community both through his professional role as a Doctor,
religious affiliations, and volunteer organizations such as ski patrol or Maddies place.
He has taught me many great lessons and helped me develop into the person I am today.
He has shown me how to be strong and kind, and always put God and family first. Ron
Ilg, or as I call him, Dad, is a wonderful person who has given everything to me and to

those he knows. He may have made some mistakes along the way, but overall his intent
is always loving. I am writing this in his support so that you are aware that he has been a

good person, a good friend, and a great Father.
Thank you for your time

Benjamin Ilg
January 10 2023

Your Honour,

| provide this character reference on behalf of Ronald llg. During my relationship with Ron, |
have known him personally as a friend, husband, father, and business partner. We met 20 plus
years ago when we were much younger and starting off on life's journey. Throughout that
journey | have seen him raise my two oldest boys as his own with a kind loving heart while
being a positive example as to what a good man should be to his family and community. Ron
and | were blessed with another son together in 2003. Although Ron and my marriage did not
last, we have remained co-parents for all of our boys, good business partners, and friends.

Ron and | bought our business together in 2008 and we continue to maintain this together. Ron
and | have worked side by side to grow crops on our acreage all while giving our boys the ability
to learn the responsibility of hard work and good work ethic. We continue to instill into them the
importance of values, morals and being an active member of the community. Our business is
family run and operated and we each come back during harvest to pitch in. Each member of the
family has an active role during harvest and the success of the farm is dependent upon each
individual. Ron, as a busy and well respected Doctor, sometimes would find it more difficult to
participate but always did his best to make time, even using vacation days during this important
time of year. His dedication to the family and the family business has never altered.

Ron has always been an exemplary example within the community. He has been a
Neonatologist, working with the baby ICU, medical director, and volunteer both for Maddies
Place and Mount Spokane Ski Patrol. Ron is a member of his church choir and an overall good
individual. He has a big heart and likes to give to those around him, whether it be his time,
charitable donations, leadership, or just a friendly ear to listen. Ron is a great person who lam
happy to call my friend.

If your Honour wishes for me to confirm any of the information | have written in this reference,
Please contact me at (509)954-8553.

Sincerely,

Correna Cockril
The Honorable Wm. Fremming Nielsen
Senior United States District Judge
P.O. Box 1493

Spokane, WA 99210

Dear Judge Nielsen:

vo letter is my attestation for my brother's (Dr Ronald lig) honorable and compassionate
character.

| will introduce myself as his older brother, the second oldest amongst a family of 10 = eight
children plus dad and mom. Of note, seven brothers and one sister. With that realization, imagine
that family of ten in a house with one bathroom (no shower, just a bathtub and toilet) and one of
the bedrooms occupied with five of the seven brothers. Many interesting and funny stories.
Furthering my introduction, my career path was similar to Ron = health care professionals and
leaders within their organizations. | spent my 40 year health career as a Radiation Therapist (non
MD) with 35 of those years in Administrative roles. | had many successes throughout my career
and the acquisition of the first MRi Linear Accelerator in the Pacific Northwest is one of my

proudest successes ($14 Million project).

Growing up, Ron was one of the most spiritual of our Catholic raised family. The majority of us
were “forced Catholics” but Ron was (and still is) true of his faith and practiced it diligently. He
was very active within the youth Christian group, recognized as the student leader. Their group
spent many days/hours furthering their faith knowledge and they spent significant time helping
elderly and needy within the community.

| could list many attributes of Ron that proves his good character, kindness, compassion, family
commitment etc. but | believe an actual account is best to validate his honorable character.

This event goes back to the years that we archery hunted for elk in eastern Oregon (Ukiah). | was
30 years old and a Manager of Radiation Oncology and Ron had completed his MD in pediatrics.
Our typical “hunt” really wasn't 100% effort to get an elk but it was more hike/survival skill type
challenge. In this period, | had open heart surgery to repair a congenital defective approximately
4 weeks before our elk hunt. And, like many health care professionals, | was not a very good
patient. | went against physician orders and went elk hunting. As | mentioned, we mainly focused
on hike/survival skill and this was one of those days. We decided to use our compasses to hike
cross country and see if we could go from point A to 4 miles away, point B. Proudly, we
accomplished the objective and progressed to the return trip. While Steve and | decided to return
to Point A in reverse order, Ron desired more adventure and took another path. Well, Steve and
| made it back before Ron and we decided to return to our base camp via the sole vehicle because
we were too hungry to wait = “brothers will be brothers” @. We actually thought we would make
it back prior to Ron. We were wrong. Upon our return to get Ron, we came upon him running on
the logging road, approximately 2-3 miles from point A meeting place. The reason = he thought |
had experienced a medical issue and he was desperate to get to me to render aid. Suffice it to
say = he wasn't a happy camper when he found out we had left him to go eat.

That example is predominant of how he lives his life and profession — in essence he is a driven
individual that has saved many of the most helpless type patients = newboms/premature
newborns with conditions such as breathing disorders, infections and birth defects. Inclusive of
newborns afflicted from drug addicted mothers. The latter is where Ron decided to work within
the community to develop a specialized organization, Maddie's Place, for those mothers both pre
and post birth. He was the Medical Chairman of that organization. Another example of Ron's
desire to be a leader in his community was his volunteering as a skilled ‘on the mountain”
emergency ski patrol (he took many hours of advanced emergency training). Suffice it to say, he
provided many people with emergency care on the ski slopes. |

Because Ron and | had similar leadership roles within our professions, we would consult (and
console) with each other throughout the years. We both shared similar values = patients came
first with our colleagues coming in a close second. Separate from the challenge of providing
patient care, as Leaders in our organizations, there were many challenges = government
regulations, hospital organizational requirements, organizational politics, correct coding
requirements, etc, One of the most challenging responsibility = leading a group of individuals with
very strong personalities, skill levels and career objectives. Our rapport through the years allowed
me to know Ron was a very effective Leader for his group (of course, | was better but that’s a

brothers competitiveness talking. Add to that, | was a better football player than Ron ©).

This current situation has been very challenging for us, as a family. We have spent the last
multiple years “this isn't Ron, it cant be true, etc.” Adding to that was/is the covid restrictions
implemented by Spokane County jail preventing the family from “being there” for him. Many hours
spent teleconferencing is not the same as direct interaction but we all endured because we all
maintained “this situation isn't our Ron and he is our brother that has been there for all of us
through the years and we are going to stay with him regardiess of the outcome.” If we could
contro! him and this situation = we would bring him home to be with us (we have all refocused
ourselves to be within the vicinity of the family farm). We have entire confidence Ron will continue
to provide life saving, compassionate care to infants, become a community leader and retum to

the ILG Family Gang.

In closing, if | could have a wish granted, | would be there to support Ron on January 24"
However, my wife is in Canada caring for her terminally ill mother which produces family needs
here and preventing me from traveling.

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